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12   IN THEIR OFFICIAL CAPACITY ONLY
13                           UNITED STATES DISTRICT COURT
14                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                WESTERN DIVISION
16   PAUL SNITKO, JENNIFER SNITKO,          Case No. 2:21-cv-04405-RGK-MAR
     JOSEPH RUIZ, TYLER GOTHIER,
17   JENI VERDON-PEARSONS,                  DEFENDANTS’ OPPOSITION BRIEF
     MICHAEL STORC and TRAVIS MAY,          TO PLAINTIFFS’ OPENING BRIEF
18                                          AND DECLARATIONS; REQUEST
               Plaintiffs,                  FOR JUDICIAL NOTICE FILED
19                                          UNDER SEPARATE COVER
                      v.
20
     UNITED STATES OF AMERICA, ET
21   AL.,
22             Defendants.
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 1                                       INTRODUCTION
 2         Plaintiffs make the extraordinary argument that the inventory search here, which
 3   was specifically described in an affidavit for a search and seizure warrant, approved by a
 4   federal magistrate judge, and conducted in conformity with FBI’s written inventory
 5   policy, constituted a “flagrant violation” of the Constitution. This “flagrant violation”
 6   nomenclature is a misplaced attempt to invoke United States v. Comprehensive Drug
 7   Testing, Inc., 621 F.3d 1162 (9th Cir. 2010) (“CDT”), to argue the government exceeded
 8   the terms of the warrants and thus “callously disregarded” the rights of boxholders at US
 9   Private Vaults (“USPV”). But the argument fails on all fronts.
10         Plaintiffs do not even bother to discuss the relevant terms of the inventory policy
11   to show a violation thereof; accordingly, the only remaining terms of the warrant
12   allegedly exceeded are those stating the warrants do not authorize a “seizure” or
13   “criminal search” of the contents of the individual boxes. But that is a legal standard,
14   not the specific factual restrictions and factual search protocols added to the warrant by
15   the federal judge in CDT that agents “flagrantly violated” and “utterly failed” to follow,
16   leading to a finding of agents’ “callous disregard” (which is a higher standard than a
17   mere violation) of a Fed. R. Crim. P. 41(g) movant’s rights. Here, by contrast, Plaintiffs
18   argue that a warrant that explicitly sets forth what every warrant implicitly prohibits (i.e.,
19   that agents cannot execute a warrant in violation of the Constitution) can somehow rise
20   to the level of a “callous disregard” finding against inventorying agents. However, the
21   determination of a Fourth Amendment violation is a legal question and conclusion for
22   the courts, not a factual question for agents to decide in performing their duties.
23         Plaintiffs’ discussion of inventory policy violations is also fatally flawed because,
24   while claiming the government violated inventory policy, they do not even discuss the
25   relevant portions of the policy that dictate how the inventory must be conducted,
26   including that agents were required to conduct “a prompt and thorough search of the
27   contents of property, including searching any locked or unlocked containers and
28   inventorying their contents.” Agents did so here. Plaintiffs have not shown otherwise,

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 1   and ignore this provision altogether, instead raising irrelevant arguments regarding
 2   whether particular agency actions advance the general purposes of an inventory.
 3         Unable to establish a violation of the relevant inventory policy, plaintiffs argue the
 4   inventory was pretextual, yet they ignore the standards for proving pretext. They do not
 5   show that the government’s sole motive in seizing USPV’s business equipment was for
 6   an unlawful purpose, and dual motives (i.e., to inventory and criminally investigate) do
 7   not establish pretext. Nor do they show the government’s purported motive to search the
 8   individual boxes without probable cause was the “but for” cause of the government’s
 9   decision to seize the nests of safety deposit boxes, as required to prove pretext. The
10   criminal investigation against USPV, a money laundering facilitator and magnet for
11   criminal activity began in April 2019, or well before criminal investigating agents spoke
12   with an asset forfeiture agent about forfeiture. When the nests of safety deposit boxes
13   were seized, the goal of the criminal investigation was fulfilled--USPV was immediately
14   and effectively terminated. The claim that agents would not have seized USPV’s
15   business equipment “but for” the government’s alleged motive to forfeit boxholder assets
16   is completely belied by the facts. Plaintiffs’ innuendos that the government wanted to
17   use forfeited assets to enhance police department revenues lacks evidentiary support and
18   is refuted by the government’s transmission of millions of dollars seized during the
19   inventory and subject to forfeiture proceedings to pay victims of crime. See Defendants’
20   Request For Judicial Notice Exhibits A-D.
21                                   STATEMENT OF FACTS
22   A.    The April 2019 Commencement Of Criminal Investigation Against USPV.
23         The government, through three federal agencies, commenced its criminal
24   investigation of USPV, the business entity, in April 2019. Ex. GG 1 at 526:17-23;
25   527:14-528:5; 529:11-19; 530:25-531:3; Ex. FF at 507:21-508:13; 509:1-25. See also
26   Ex. HH at 551:18-552:23. Before the USPV investigation began, law enforcement had
27   investigated individual USPV customers, but those investigations had been ineffective at
28         1
               Exhibit references are to the Rodgers Decl.
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 1   stopping criminal conduct at USPV. Ex. GG at 528:6-12: Ex. II at 561:4-23.
 2   Accordingly, the FBI, DEA and USPIS attempted to come up with a strategy to address
 3   USPV, the business, as USPV was operating as a money laundering facilitator that
 4   attracted, protected and enabled a large number of criminals. Ex. GG at 528:12-529:10;
 5   532:25-535:22; Ex. II at 561:23-562:4. USPV was a criminal magnet; the company
 6   marketed itself to and protected criminals and obstructed law enforcement. Ex. GG at
 7   536:7-537:5. During the investigation, the lead criminal agents from their respective
 8   agencies, Zellhart, Carlson and Versoza, spoke by telephone about their activities, and
 9   the DEA and USPIS conducted field surveillance work and undercover operations while
10   the FBI collected data and drafted the affidavit which would be used to obtain warrants.
11   Ex. HH at 551:18-552:23; 553:24-554:24; Ex. JJ at 576:14-579:9; 582:19-583:6. The
12   affidavit for warrants relative to USPV submitted to the magistrate judge discussed the
13   criminal investigation, as set forth below.
14         1.     Background Regarding USPV
15         In 2015, law enforcement agencies learned that criminal investigation targets were
16   employing USPV, a company that rented safe deposit boxes, to store criminal proceeds.
17   Ex. B ¶¶ 8 and 10 at 59-61. By providing and promoting total anonymity, USPV
18   catered to and attracted criminals who sought to keep their identities and cash beyond the
19   reach of banks, the IRS, and law enforcement. Id. ¶ 11 and 16-19 at 62, 64-66. USPV’s
20   primary pitch to customers was anonymity, as reflected in its website that provided
21   “Complete Privacy; Biometric Identification; No ID Required” and boasted “Our
22   business is one of the very few where we don’t even want to know your name. For your
23   privacy and the security of your assets in our vault, the less we know the better.” Id.
24   ¶¶ 11 and 12 at 62 (Emphasis in original). The underscored statement appealed to
25   persons engaged in activities they wished to hide. Id. ¶ 12 at 62.
26         USPV website posts showed it was marketing its services to criminals and those
27   operating outside the law, by comparing itself to banks and law-abiding financial
28   institutions, in order to hide their money and avoid paying taxes. Id. ¶¶ 12-14 and 21 at

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 1   62-63 and 76. In one post USPV stated “As government chartered institutions, banks are
 2   now required to file ‘suspicious activity reports.’ . . . U.S. Private Vaults is not subject to
 3   federal banking laws and would only cooperate with the government under court order.”
 4   Id. ¶ 14 at 63. Also, USPV charged customers a premium for its service because, unlike
 5   legitimate banks, it offered anonymity, assistance in avoiding law enforcement, money
 6   laundering services, a willingness to look the other way regarding criminal conduct and a
 7   place to store illegally obtained cash. Id. ¶¶ 22 and 27 at 67 and 78.
 8         2.     USPV’s 2019-2020 Activities Revealed By The Criminal Investigation.
 9         Mark Paul, USPV’s owner and founder, told a cooperating witness that USPV’s
10   best customers were “bookies,” “prostitutes” and “weed guys[,]” told a CI in November
11   2019 that about one-third of USPV’s business came from the cannabis industry and told
12   a CI in December 2019 “you don’t want every drug dealer in your place either. You
13   need normal people too,” thus suggesting USPV needed to attract some non-criminal
14   clientele to avoid being an obvious haven for criminals. Id. ¶¶ 21, 27 and 29a at 76, 78-
15   80. On December 17, 2019, Michael Poliak, who became a USPV co-owner in 2019,
16   told a CI that before then, USPV made no money, with two thirds of its boxes empty, but
17   now they were 60-63% full and revenues had increased from $3,000 to $30,000 monthly
18   from referrals he obtained by calling marijuana lawyers, and USPV intended to expand.
19   Id. ¶¶ 9b, 29, 29a, 29d at 59-60, 79-81.
20         In July 2019 and while at USPV, USPV’s manager showed a CI USPV’s security
21   monitors and pointed out a number of vehicles the manager believed belonged to law
22   enforcement and in the area because of the CI. Id. ¶¶ 9c and 98 at 60, 130. While at
23   USPV, USPV’s manager on August 9, 2019 instructed a CI on how to structure a cash
24   purchase of gold, and on January 13, 2020 another USPV principal instructed a CI on
25   how to structure a jewelry purchase; and on January 28 and February 25, 2020, USPV
26   principals had similar structuring conversations. Id. at ¶¶ 83 and 85-88 at 110-115.
27   During surveillance at USPV between February 1, 2020 and February 26, 2021, agents
28   identified many USPV customers likely engaged in criminal activity and storing criminal

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 1   proceeds or evidence of crimes at USPV. Id. ¶ 20j at 74. Officers seized and forfeited
 2   from USPV boxes 400 silver coins and 26 silver bars found September 9, 2015;
 3   $500,000, 22 gold bars and 15 gold coins seized in October 2015; $200,100 seized
 4   November 3, 2015; $1,543,400 seized in November 2015; $592,450 and $435,190 seized
 5   in September 2016 and used to pay restitution to victims; $101,080 and 26 gold bars
 6   seized March 6, 2018; and $1,448,700 seized in July 2019. Id. at ¶ 20a-i at 68-74.
 7   B.     Criminal Investigative Agents First Speak With Asset Forfeiture Agent
 8          About One And Half Years After The USPV Criminal Investigative Began.
 9          As set forth above, criminal investigative agents started investigating USPV in
10   April 2019. In the summer of 2020, criminal investigative agents and the criminal major
11   frauds AUSA who would present the matter to the grand jury discussed indicting USPV
12   and obtaining warrants as to it. Ex. II at 563:6-564:15. No asset forfeiture agent was
13   involved in the discussions, as conversations with asset forfeiture agent Murray, the
14   agent in the FBI Los Angeles field office involved in civil administrative asset forfeiture,
15   occurred later in the summer or fall of 2020. Ex. II at 565:14-16; 566:3-12.
16          In the fall of 2020, or about one and one half years after the USPV criminal
17   investigation began, the FBI forfeiture agent first became involved in discussions with
18   criminal investigating agents, and spoke with her supervisor shortly before the
19   discussion. Ex. KK at 586:25-587:19; 589:19-591:25 and 82:9-14; Ex. II at 565:17-23.
20   The asset forfeiture agent, who was not involved in the investigation, decided she would
21   need to see the final affidavit before concluding there was probable cause to seize assets
22   in boxes to pursue FBI administrative forfeiture. Ex. KK at 588:22-581:13; 592:19-
23   593:14. Upon reviewing the final affidavit in February or March 2021, the forfeiture
24   agent decided probable cause existed to seize boxholder assets [Ex. KK at 594:14-595:12
25   and 596:7-16], but she of course did not know what assets were in any box. FBI
26   administrative forfeiture proceedings against specific assets were commenced May 20,
27    2021 (not as plaintiffs falsely state upon the warrants’ execution [PB at 14:26-28] but
28   instead 60 days later), by sending a notice letter to USPV. Ex. J at 328-346.

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 1   C.    The March 2021 Grand Jury Indictment Against USPV
 2         On March 9, 2021, the grand jury returned an indictment against USPV, charging
 3   USPV with a conspiracy to launder money, distribute controlled substances and structure
 4   financial transactions, and reflected the grand jury’s finding that probable cause existed
 5   to forfeit USPV’s business equipment. Ex. F. The indictment provided that USPV’s
 6   business was predicated on “attract[ing] customers in possession of proceeds from
 7   criminal offenses” which it did by “touting the anonymity of the safety deposit rentals”
 8   and “boasting that, unlike banks, its anonymous safety deposit box rentals did not
 9   require customer information that ‘can be easily accessed by government agencies (such
10   as the IRS)[.]’ ” Id. ¶ 3a at 277. The indictment also noted that USPV conspired with
11   others to launder money, and alleged acts between 2019 and November 2020, including
12   December 2019 structuring and cocaine transactions. Id. at ¶¶ 1-11 at 275-284.
13   D.    The Operation Order Search Plan and Supplemental Inventory Instructions.
14         Agent Zellhart prepared an “Operation Order Search Plan” and “Supplemental
15   Instructions on Box Inventory,” dated March 12, 2021, and discussed them with agents
16   in meetings held one week before the search. Exs. GG at 541:12-542:23, G and H. The
17   search plan noted USPV was a “hub of criminal activity” “knowing facilitator” of money
18   laundering and “safe harbor for criminal conduct of every kind.” Ex. G at 292. The
19   instructions comported with the FBI Domestic Investigations and Operations Guide’s
20   (“DIOG”) inventory policy, stating agents would “search and inventory all boxes
21   according to FBI policies and procedures,” and process box contents “as described in
22   this memo[.]” Ex. H at 305; Ex. II at 559:7-560:17; Exs. GG at 523:17-19; 524:11-14:
23   525:3-19. The instructions explained how agents should handle and inventory cash, non-
24   cash valuables, digital currency, firearms, drugs and hazardous items, directing agents to
25   create an “inventory list” for each box “bagg[ing . . . [and] label[ing]” the inventoried
26   items and completing a FD-597 (receipt of property), FD-886 (evidence log), FD-1004
27   (chain of custody) and FD-302. Ex. H at 306-308. The instructions told agents to note
28   “if the box includes a USPV notification form identifying a contact person for the box.

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 1   Bag and tag the contents form. Agents cannot search the contents of boxes for evidence,
 2   but may examine the contents to identify the box owner.” Id. at 306. Thus, the
 3   instructions were not limited to forfeiture matters as plaintiffs falsely suggest.
 4   E.    The Applications For Search And Seizure Warrants And Warrants’ Execution.
 5         In March 2021, the government submitted a common affidavit with separate
 6   applications for search and seizure warrants as to USPV’s business equipment (i.e.,
 7   USPV’s business computers, money counters, nests of safety deposit boxes, digital and
 8   video surveillance and security equipment and biometric scanners). Exs. B and D. The
 9   applications contained the language in the attachments to the search warrant and seizure
10   warrant regarding the business equipment that the magistrate judge adopted without
11   change in issuing them. Exs. A at 32-33; B at ¶ 1k at 45-46; C at 163; and D at 165.
12         Plaintiffs cite selective portions of the warrants and affidavit, yet ignore others
13   which discuss that inventorying had multiple purposes, separate from identifying
14   owners. The warrants attachments the government drafted and the magistrate judge
15   adopted state that the warrants do “not authorize a criminal search or seizure of the
16   contents of the safe deposit boxes[,]” and then provide:
17         In seizing the nests of safety deposit boxes, agents shall follow their written
18         inventory policies to protect their agencies and the contents of the boxes.
19         Also in accordance with their written policies, agents shall inspect the
20         contents of the boxes in an effort to identify their owners in order to notify
21         them so that they can claim their property. (Emphasis added).
22   Ex. A at 32-33; Ex. C at 163. The affidavit also discussed that agents would
23   follow written inventory policy, as well as the multiple purposes of an inventory:
24         The search and seizure warrants the government seeks list the nests of
25         safety deposit boxes at USPV among the items to be seized. These nests of
26         safety deposit boxes are evidence and instrumentalities of USPV’s
27         criminality. The warrants authorize the seizure of the nests of the boxes
28         themselves, not their contents. By seizing the nests of safety deposit boxes,

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 1         the government will necessarily end up with custody of what is inside those
 2         boxes initially. Agents will follow their written inventory policies to
 3         protect their agencies from claims of theft or damage to the contents of the
 4         boxes, and to ensure that no hazardous items are unknowingly stored in a
 5         dangerous manner. Ex. B ¶ 108 at 137 (emphasis in original).
 6   The affidavit also stated (1) the FBI would comply with its written inventory policies
 7   concerning an unknown person’s property, but did not (nor could it) state that that policy
 8   somehow cancelled other portions of the policy, as plaintiffs suggest; and (2) the FBI
 9   had set up an informal procedure for boxholders to make an immediate request for the
10   return of their property, although there was no legal obligation to do so:
11         Agents will attempt to notify the lawful owners of the property stored in the
12         boxes how to claim their property, such as by posting that information on
13         the internet or at USPV itself, or by contacting the owners directly.
14         In order to notify the owners directly, agents will, in accordance with their
15         policies regarding an unknown person’s property, look for contact
16         information or something which identifies the owner. (Footnote omitted).
17   Id. at 137-38. The footnote provides “The FBI policy regarding taking custody of
18   an unknown person’s property provides, in part, that agents ‘inspect the property
19   as necessary to identify the owner and preserve the property for safekeeping.’ The
20   inspection ‘should extend no further than necessary to determine ownership.’ ” Id.
21         Hundreds of officers were at USPV between March 22 and 26, 2021, while
22   officers executed the warrants. Ex. FF at 510:2-511:22. Agents prepared written
23   inventory documents for about 700 boxes. Ex. GG at 545:1-11. Agents found firearms,
24   ammunition and fentanyl in boxes. Zellhart Decl. ¶ 6; Exs. DD and EE.
25   F.    Inventorying Agents’ Compliance With FBI’s Inventory Policy
26         Plaintiffs argue the inventory policy provides that “agents ‘inspection [of the box
27   contents] should extend no further than necessary to determine ownership” and violated
28   that policy when they found an executor notification letter in a box but continued

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 1   inventorying. PB 8:1-4; see also 5:1-12. But this portion of the policy pertains, as the
 2   affidavit noted, to an unknown person’s property. Plaintiffs also ignore pertinent policy
 3   provisions, including DIOG § 18.6.12.4.1 discussed below that specifically direct agents
 4   how to conduct the inventory, which showed agents had to perform additional tasks,
 5   other than looking for ownership indicia like the executor letters, when inventorying:
 6         As a general rule, after lawfully taking custody of property, FBI employees
 7         must conduct a prompt and thorough search of the contents of the property,
 8         including searching any locked or unlocked containers and inventorying
 9         their contents. A written summary showing the results of the inventory
10         must be recorded in an FD-302, an FD-597 (“Receipt for Property”), or an
11         FD-653 (“Motor Vehicle Inspection Inventory Record”). The written
12         summary must include, but is not limited to, a description of the property
13         and the items secured for safekeeping. Ex. E at 273-74 (emphasis added). 2
14         Plaintiffs’ argument that agents had to stop inventorying when executor letters
15   were found is wrong. While the letters helped to identify owners, multiple situations
16   existed where agents found photographs of driver’s licenses and passports with different
17   names and letters from prior box renters. Ex. GG at 543:2-23. “So it’s a - - it’s a great
18   starting point in terms of who the box holder is, but it, as it turned out, is not the last
19   word on it.” Ex. GG at 543:24-544:1. (Indeed, three plaintiffs’ letters were over 3 years
20   old [Ex. N at 371-372; Ex. U at 412-413 and Ex. W at 421-22]). Even if a letter were
21   found, agents still had to continue inventorying per policy requiring a “thorough search
22   of the contents of the property, including searching any locked or unlocked containers
23   and inventorying their contents,” meaning “everything still needs to be bagged and
24   tagged and processed according to our evidence procedures, with all of the redundancies
25   and paperwork.” Ex. GG at 544:2-15; and Ex. FF at 514:23-518:21.
26         2
              The policy then states “Agents must provide receipts for all items retrieved
27   during inventory searches. Agents should also memorialize facts pertinent to other
     activities undertaken during the inventory process, such as . . . a non-inventory-related
28   search conducted and any evidence collected (i.e., FD-1087, “Collected Evidence Log”
     [Sentinel]) that are relevant to the investigation. Id. (emphasis added).
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 1         Plaintiffs also misstate additional policy terms, arguing that the policy “states that,
 2   if ‘there is probable cause to believe an inventory search would also yield items of
 3   evidence or contraband, agents’ should seek a warrant allowing them to conduct the
 4   criminal search.” PB 5:15-18. But the policy begins with “Agents may not perform
 5   inventory searches solely for investigative purposes” and then provides (with plaintiffs’
 6   omissions italicized):
 7         Whenever there is probable cause to believe an inventory search would also
 8         yield items of evidence or contraband, agents must obtain a search warrant
 9         when feasible. Searches conducted pursuant to a warrant are
10         presumptively valid. Obtaining a search warrant eliminates any later
11         argument that the inventory search was conducted solely for investigative
12         purposes and thus unjustified. Ex. E at 274.
13   Here it would not have been feasible for the government to obtain search warrants in
14   advance for individual boxes because the boxes were rented anonymously, and so the
15   government knew neither what was in specific boxes nor even who controlled them. But
16   the government did follow this preference for search warrants and obtained them for
17   dozens of individual boxes that appeared to warrant criminal investigations, after the
18   inventorying was complete. Zellhart Decl. ¶ 5.
19   G.    The Two Remaining Claims In This Case.
20         Plaintiffs’ remaining claims in their first amended complaint (“FAC”) are their
21   class claim in Count I under the APA, Declaratory Judgments Act and Constitution (ECF
22   33 [FAC ¶¶ 1 and 152-171]) alleging that the government’s search violated the Fourth
23   Amendment, and their individual claim in Count VII under Fed. R. Crim. P. 41(g)
24   (“Rule 41(g)”) and the Court’s equitable power for return of property that only seeks the
25   return the individual plaintiffs’ seized property (ECF 33 [FAC ¶¶ 2, 231-241 and ¶ L at
26   52:4-8]). Five plaintiffs admit their property has been returned (making their individual
27   claim moot) and Rule 41(g) relief is unavailable for the other two plaintiffs who claim
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 1   $2,000 has was not returned, because the government does not possess those funds.3
 2                                         ARGUMENT
 3   A.    Plaintiffs Have Not Established A Fourth Amendment Violation. 4
 4         1.     An Inventory’s Lawfulness Is Determined By Analyzing A Written
 5                Inventory Policy, Not By Whether Officers’ Actions In Conformity
 6                Therewith Advance The General Purposes Of An Inventory.
 7         Plaintiffs proceed on the flawed premise that courts must consider whether
 8   inventorying agents’ actions advance the general purposes of an inventory. However,
 9   the determining factor on an inventory’s lawfulness is whether inventorying agents’
10   actions conformed to a standardized inventory policy, which as a result limits agent
11   discretion in conducting the inventory. Caselaw regarding the rationale for upholding
12   inventory searches as lawful, despite the absence of probable cause, reveals this is so.
13         Inventory searches are “a well-defined exception to the warrant requirement of the
14   Fourth Amendment.” Colorado v. Bertine, 479 U.S. 367, 371 (1987). Accord, Illinois v.
15   Lafayette, 462 U.S. 640, 643 (1983) (same). In order to avoid concerns about “an
16   inventory search [being used as] a ruse for a general rummaging in order to discover
17   incriminating evidence[,]” the inventory must be conducted pursuant to an inventory
18   policy that has “standard criteria” or an “established routine” and thus sufficiently guides
19   the inventorying officers’ discretion and avoids a general rummaging. Florida v. Wells,
20   495 U.S. 1, 4 (1990). Accord, South Dakota v. Opperman, 428 U.S. 364, 372 (1976).
21         Except as to pretext (which requires analysis of subjective intent), proof that
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           3
             Ex. M at 361:10-362:12; Ex. P at 377:23-378:19; Ex. X at 425-426; Ex. Y at
     430-433; Ex. S at 398:2-15; Ex. T at 404:16-405:8; 407:23-408:7; Ex. V at 417:9-
24   418:10; Ordonez v. United States, 680 F.3d 1135, 1137-40 (9th Cir. 2012); Search and
     Seizure of Box No. 8309 at U.S. Private Vaults v. United States, 2021 WL 7707761, *2
25   n.1 (C.D. Cal. Aug. 30, 2021); Zellhart Decl. ¶ 2.

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           4
              Plaintiffs must prove their Fourth Amendment claim by a preponderance of the
     evidence [see Ninth Circuit Model Civil Jury Instructions Nos. 9.12 and 9.19], not under
27   the summary judgment standard they suggest. A “trial-on-the-briefs” means exactly
     that- -a trial on the briefs; the parties agreed thereto at the scheduling conference (Ex. L
28   at 350-355) and is consistent with the parties filing opening, opposition and reply briefs
     with extensive evidentiary citations.
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 1   officers conducted an inventory consistently with a standard inventory policy validates
 2   the inventory as lawful and ends the inquiry; that is, officers’ subjective motivations in
 3   conducting the inventory are irrelevant in that circumstance. United States v. Torres,
 4   828 F.3d 1113 (9th Cir. 2016). In explaining the irrelevance of subjective officer intent
 5   where officers comply with inventory policy, the Ninth Circuit noted in United States v.
 6   Bowhay, 992 F.2d 229 (9th Cir. 1993), that where officers follow a standardized
 7   inventory policy which thus guides and delimits officers’ discretion, “the police conduct
 8   would have been the same regardless of the officer=s subjective state of mind, [and] no
 9   purpose is served by attempting to tease out the officer=s ‘true’ motivation.” Id. at 231
10   (citing Horton v. California, 496 U.S. 128 (1990)).
11         Therefore, the validity of an inventory begins with analyzing an inventory policy
12   and officer compliance therewith, not whether officer actions advance general inventory
13   purposes. Where a standardized inventory policy exists, officers need not exercise their
14   discretion (nor do Courts need to analyze officer intent) in conducting the inventory.
15   Plaintiffs’ claim that officers must stop, analyze each item they find and decide whether
16   what they are doing in compliance with policy advances general inventory purposes
17   would require officers to exercise discretion, thereby creating the very risk that the
18   rationale for upholding inventory searches without probable cause seeks to avoid.
19         2.     Plaintiffs Have Not Established Pretext.
20                a.     Dual Motives Do Not Establish Pretext, Which Instead Requires
21                       Plaintiffs Show The Government’s Motive To Search The Individual
22                       Boxes Without Probable Cause Was The But For Cause Of Its
23                       Decision To Seize The Nests Of Safety Deposit Boxes.
24         “[T]he presence of an investigative motive,” or a “dual bona fide motive[s]” [(i.e.,
25   to inventory and to criminally investigate)] “does not invalidate the inventory search.”
26   Bowhay, 992 F.2d at 231. While Bowhay acknowledged that “an inventory search is
27   invalid if it was a pretext for an investigative search,” “pretext” cases involve only an
28   investigative motive. Id. Accord, Bertine, 479 U.S. at 372 (inventory search lawful

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 1   where officers follow standard inventory procedure and not acting “for the sole purpose
 2   of investigation”). Thus, even if the police are partly motivated by a subjective
 3   investigatory intent, “the presence of [such] an investigative motive does not invalidate
 4   [an otherwise valid] inventory search.” Bowhay at 231. Accord, United States v.
 5   Orozco, 858 F.3d 1204, 1213 (9th Cir. 2017).
 6         Plaintiffs cite no case regarding the standards to show pretext. To prove pretext,
 7   plaintiffs must show that but for the government’s desire to search the boxes without
 8   probable cause so it could criminally investigate boxholders based on evidence found
 9   during the inventory (i.e., the alleged improper motive), the government would not have
10   seized the nests of safety deposit boxes (i.e., the legal action). Orozco, 858 F.3d at 1213
11   (defendant arguing pretext must “show that the stop would not have occurred in the
12   absence of an impermissible reason” to “prove that a stop is unreasonably pretextual”);
13   United States v. Johnson, 889 F.3d 1120, 1126 (9th Cir. 2018) (pretext for inventory
14   search requires showing “officers would not have searched and seized items from the car
15   [defendant] was driving but for an impermissible motive”).
16                b.    Collecting Forfeiture Information About Cash, General Inventory
17                      Property Descriptions And Drug Dogs Do Not Establish Pretext.
18         Plaintiffs offer two arguments to support pretext: (1) Zellhart’s supplemental
19   inventory instructions and the agent observation notes form used during the inventory
20   discussed capturing characteristics of cash that could support forfeiture, and drug dogs
21   were at the scene; and (2) general descriptions of “miscellaneous” items did not set forth
22   exactly how many items were seized and thus failed to advance the general inventory
23   purpose of protecting officers against theft or loss claims. Neither proves pretext.
24         The supplemental inventory instructions contain a significant amount of
25   information concerning USPV and the inventorying process that is indisputably
26   unrelated to forfeiture. See infra. At best, plaintiffs could argue agents had a dual
27   motive, but dual motives are not pretext under Bowhay’s sole motive to criminally
28   investigate pretext test, or the Orozco/Johnson but for pretext test as discussed below.

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 1         The evidence discussed above establishes that the government would have seized
 2   the nests of safety deposit boxes, which resulted in USPV’s closure, even if it was unable
 3   to, as plaintiffs contend, conduct an illegal search of the boxes without probable cause.
 4   In summary, the USPV criminal investigation began in April 2019; criminal
 5   investigative agents took substantial steps in furtherance of the investigation, including
 6   surveillance, controlled drug buys and structuring discussions; no forfeiture agent was
 7   involved in the criminal investigation, and no discussions between the criminal
 8   investigative agents and the forfeiture agent occurred until one and one half years after
 9   the USPV investigation began. This is woefully inadequate to prove “but for” pretext.
10         Ignoring the “but for” pretext test entirely and again irrelevantly focusing on
11   whether agent actions advanced general inventory purposes, plaintiffs argue that
12   officers’ general “miscellaneous” descriptions prove pretext because agents had to write
13   down information about every single item, no matter how many, in a box for the
14   inventory be lawful. That argument is clearly wrong on the law. United States v. Lopez,
15   547 F.3d 364, 371 (2d Cir. 2008) (finding “no merit” to argument officers could not
16   generally describe all items as “personal belongings[,]” noting “[t]he concept of an
17   inventory does not demand the separate itemization of every single object”). It also
18   ignores the policy which merely directs officers to include in the inventory documents “a
19   description of the property and the items secured for safekeeping.” Agents were not
20   required under the policy to provide the detailed descriptions plaintiffs suggest nor an
21   exhaustive list of every single item in a box. Ex. II at 567:23-568:9; 569:16-25; Ex. FF
22   at 500:20-502:17. 5 Further, the idea that agents as a pretext would have hundreds of
23   officers execute the warrant for a week and produce tens of thousands of pages of
24   inventory documents (Rodgers Decl. ¶ 39) and videos is pure folly.
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           5
             In any event, the general descriptions did help protect against theft and loss
     claims because they together with photos, videos documenting the inventory process,
27   chain of custody documents and sealing and assigning bar codes to item assisted in
     locating items. Ex. FF at 477:4-479:10; 502:12-503:1; 504:1-505:4; 506:3-10; 512:6-
28   513:1; Ex. II at 567:23-569:15; 570:10-571:3; Ex. GG at 546:8-14.

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 1         Also, drug dogs at an inventory does not invalidate it. Does 1 v. United States,
 2   2021 WL 3206807, *3 (C.D. Cal. Apr. 22, 2021) (“[t]he Ninth Circuit has found the use
 3   of a drug dog during an inventory search is generally not unreasonable under the Fourth
 4   Amendment”) (citing United States v. Nieto-Rojas, 470 F. App’x 674 (9th Cir. 2012)).
 5   This comports with the rule that expecting to find criminal evidence during an inventory
 6   does not render it unlawful. United States v. Garay, 938 F.3d 1108, 1112-13 (9th Cir.
 7   2019) (“[g]iven the circumstances leading up to the search, the officers no doubt
 8   expected to find evidence of criminal activity inside the vehicle. But that expectation
 9   would not invalidate an otherwise reasonable inventory search”) (citing Bowhay at 231);
10   Lopez, 547 F.3d at 372. “Penalizing officers who are candid enough to admit that they
11   hope to find evidence of a crime can only encourage obfuscation and dishonesty, without
12   protecting reasonable expectations of privacy.” Bowhay, 992 F.2d at 231. 6
13         3.     Plaintiffs Failed To Show The Government Misled The Magistrate By
14                Failing To Disclose Material Facts Or Exceeded The Warrants’ Terms.
15         Plaintiffs argue that the government breached a duty of candor because it failed to
16   disclose the “material” fact that it intended to seek civil forfeiture in the future. But the
17   warrants were directed to USPV, not the boxholders, so as a matter of law the non-
18   disclosure regarding boxholder assets could not be material because the information has
19   no bearing on the probable cause finding for the warrants directed to USPV. United
20   States v. Christensen, 624 F. App’x 466, 474 (9th Cir. 2015). Moreover, while plaintiffs
21   contend that Zellhart, a criminal investigator, misled the magistrate because her affidavit
22   for the warrants directed at USPV did not disclose that forfeiture agents were prepared to
23   seek forfeiture of some of USPV customers’ assets (or for that matter criminally
24   investigate and charge some customers) later if the facts supported such action, plaintiffs
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26         6
             Likewise, plaintiffs’ videos prove nothing, as agents had multiple purposes for
     inventorying beyond owner identification and, even if agents inadvertently made a
27   mistake on some of the 700 boxes inventoried, minor non-compliance with inventory
     policy does not invalidate an inventory. Garay, 938 F.3d at 1112.
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 1   offer no authority for the extraordinary proposition that agents must disclose in an
 2   affidavit for one court how its fruits might lead to other actions in the future.
 3         To be sure, agents owe a duty of candor to courts, but that is about known facts
 4   that have already occurred. Here, the government took the highly unusual step of
 5   explicitly telling the magistrate it would inventory the boxes within the nests that it
 6   sought permission to seize from USPV. The government went beyond the purpose of
 7   the affidavit, which was to establish probable cause for the warrants against USPV,
 8   because USPV was custodian for customers whose property would be taken into
 9   custody. But just because the government went beyond its obligations to ensure that the
10   magistrate understood the warrants would result in an inventory in no way imposes on
11   the government the further obligation to announce how later actions, such as criminal
12   investigations against boxholders or forfeiture of box contents, would play out.
13         Furthermore, the affidavit extensively discusses prior criminal convictions and
14   forfeitures from boxholders, thus leading to the inference that the inventoried boxes
15   could lead to future forfeiture, which occurred 60 days later on May 20, 2021 consistent
16   with 18 U.S.C. § 983(a)(1)(A)(i)’s deadline. While the forfeiture agent as of the March
17   2021 warrants’ execution believed probable cause existed to forfeit boxes containing
18   large sums of cash, that is beside the point because the warrants were directed to USPV,
19   not the boxholders. The forfeiture agent’s opinion about probable cause at most shows
20   she expected boxes would contain criminal proceeds, which is certainly true given the
21   hundreds of boxes and USPV’s efforts to market itself to criminals.
22         Plaintiffs say nothing about the inventory policy provisions defining how to
23   conduct the inventory, so their only argument based on CDT is that the government
24   callously disregarded boxholders’ constitutional rights by exceeding the terms of the
25   warrants (that the government itself prepared) by conducting a “seizure” or “criminal
26   search” of the boxes. Both the high standard for proving “callous disregard for
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 1   constitutional rights”7 and CDT’s different facts show plaintiffs’ argument is wrong.
 2         In CDT, the government was conducting an investigation into a drug testing
 3   company’s supplying steroids to baseball players, and had probable cause to seize the
 4   company’s electronic records for ten players whose tests were performed pursuant to a
 5   collective bargaining agreement. Because it was difficult to identify on-site the
 6   electronic data relevant to only the ten players, the government sought broad authority to
 7   seize the company’s data for all players, representing it would examine and segregate the
 8   data off-site to ensure it only seized evidence relevant to the ten players. Id. at 1167-68.
 9   The magistrate granted the broad search warrant requested but, unlike the present case,
10   specifically added to the warrant “significant restrictions on how the seized data” was to
11   be handled and segregated by the government, such as requiring non-investigative agents
12   with computer expertise to review and segregate the electronic materials. Id. at 1168.
13         However, the government “completely ignored” the specific factual restrictions
14   the magistrate added to the warrant, “utterly failed to follow the [search] warrant’s
15   protocol” and “rooted out information pertaining to all professional baseball players” to
16   find information identifying players testing positive for steroids. Id. at 1171-72. In
17   affirming the grant of a Rule 41(g) motion ordering the government to return and
18   sequester the records of all but the ten players, the Court noted three separate district
19   court judges reviewing the matter had concluded the government had callously
20   disregarded the affected players’ constitutional rights, which was the only Ramsden v.
21   United States, 2 F.3d 322 (9th Cir. 1993) factor seriously in dispute. Id. at 1170, 1174. 8
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           7
             A “callous disregard for Movant’s constitutional rights is a higher threshold than
23   a mere violation of Movant’s constitutional rights. . . .if the government sought to
     comply with the terms [of the warrant] in good faith, a discrepancy would not constitute
24   ‘callous disregard’ for Movant’s constitutional rights.” Burum v. United States, 2014
     WL 12596719, *4 (C.D. Cal. Apr. 2, 2014) (emphasis in original and citations omitted).
25
           8
             In United States v. Rettig, 589 F.2d 418 (9th Cir. 1978). agents obtained a federal
26   arrest warrant for defendant on cocaine conspiracy charges, but were denied a search
     warrant for defendant’s residence. Without disclosing the denial, agents the next day
27   sought a search warrant from a State judge, advising defendant had flushed marijuana
     down the toilet when arrested, and the warrant issued authorizing a search specifically
28                                                        (footnote cont’d on next page)

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 1         By contrast, unlike in CDT, there were no restrictions added by the magistrature
 2   and no factual restrictions whatsoever in the USPV warrants, except that they provide
 3   that agents would execute them in conformity with inventory policy (and plaintiffs offer
 4   nothing showing agents did not), that the government “completely ignored” as in CDT.
 5   Accordingly, plaintiffs’ argument is that the government exceeded the warrants because
 6   it violated the legal conclusion that a “criminal search” or “seizure” was conducted. But
 7   the determination of whether agents’ agents engaged in a “criminal search” or “seizure”
 8   is a legal one based on the facts. Plaintiffs’ argument is like claiming warrants
 9   prohibiting “violations of the Constitution” can constitute “callous disregard” if officers
10   are later shown to have engaged in acts that do not pass constitutional muster. Violation
11   of the “criminal search” or “seizure” warrants depends upon applying facts to caselaw to
12   decide whether agents activities constitute an lawful inventory not requiring probable
13   cause (as the government contends) or an unlawful seizure or criminal search without
14   probable cause (as plaintiffs contend). Agents are not lawyers, and thus the government
15   could argue in a later criminal case against a boxholder that agent actions are justified
16   under the good faith exception because agents objectively reasonably relied on a
17   facially-valid warrant that provides agents could inventory the boxes according to
18   inventory policy. United States v. Leon, 468 U.S. 897 (1984).
19         4.     The Failure To Use Alternatives Does Not Show An Unlawful Inventory.
20         Plaintiffs’ argument that seizing a locked vault did not advance general inventory
21   purposes is irrelevant, and likewise unavailing is their claim that the government could
22   have sought a receiver to take over USPV. Officers need not consider “the existence of
23   alternative less intrusive means” before seizing and inventorying property. Miranda v.
24   City of Cornelius, 429 F.3d 858, 866 n.6 (9th Cir. 2005) (quoting Bertine, 479 U.S. at
25   374). Accord, LaFayette, 462 U.S. at 647 (“[t]he reasonableness of any particular
26
27   for marijuana. Agents executed the warrant, spending hours looking for cocaine
     conspiracy evidence and seizing over 2,000 items, which was unlawful because “the
28   agents did not confine their search in good faith to the objects of the warrant” and
     “substantially exceeded any reasonable interpretation of its provisions.” Id. at 423
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 1   governmental activity does not necessarily or invariably turn on the existence of
 2   alternative ‘less intrusive’ means”); Torres, 828 F.3d at 1119 n.2. Also, agents did
 3   consider alternatives, including nuisance abatement and the FBI taking over USPV, but
 4   they were not feasible and less effective than seizing USPV’s business equipment [Ex.
 5   GG at 128:14-129:13;130:6-24], and a receivership is not even legally available.9
 6         Ignoring the DIOG inventory policy section, plaintiffs instead point to a section
 7   titled Least Intrusive Method (“LIM”), arguing agents were required to choose the LIM
 8   capable of achieving the government’s objections because seizure intruded on boxholder
 9   privacy rights. But plaintiffs’ again completely ignore provisions refuting their
10   position.10 Further, even if agents failed to comply with discretion-requiring LIM
11   provisions, LIM provisions (unlike the discretion-prohibiting inventory policy) have no
12   independent legal significance. In other words, while inventory policy violations can
13   under caselaw constitute a constitutional violation, LIM provision violations do not.
14   B.    A Segregation Of Documents Order Is Unwarranted. 11
15         Plaintiffs segregation remedy request fails; it is available only for Rule 41(g)
16   claims and their FAC shows their class claim is not, and plaintiffs’ Rule 41(g) individual
17   claim does not seek the remedy. ECF 78 (class certification order at 5:7-12, citing CDT)
18   and ECF 33 (FAC ¶¶ 1, 2, 153 and 232 and ¶ L at 52:4-8). Also, plaintiffs seek the
19         9
             Receivership required a showing that the safe deposit box nests were in danger
20   of being destroyed, removed or otherwise unavailable for forfeiture [see 18 U.S.C.
     §§ 983(j)(1)(B)(i) and 1963(d)(1)(B)(i)], and they were not, as USPV intended to
21   continue operating and had expansion plans. Seizure immediately terminated USPV.

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               The LIM provisions state agents should “[e]mploy the least intrusive means that
     do not otherwise compromise FBI operations; should “strongly consider the method
23   (technique) employed to achieve that objective that is the least intrusive available, while
     still being operationally sound and effective”; the LIM principle “is intended to
24   encourage investigators to choose the least intrusive - - but still reasonable - - means
     from the available options[;]” and “[i]n the final analysis, choosing the method that must
25   [sic] appropriately balances the impact on privacy and civil liberties with operational
     needs, is a matter of judgment, based on training and experience. Ex. I at 309, 323, 326.
26         11
              The destruction of records remedy is unavailable; it is “used only in extreme
27   circumstances” [United States v. Smith, 940 F.2d 395, 396 (9th Cir. 1991)], involving a
     “real and immediate threat of irreparable harm” [Fendler v. U.S. Parole Comm’n, 774
28   F.2d 975, 979 (9th Cir. 1985), and a vague possibility that the government might take
     some action in the future does not confer standing [Laird v. Tatum, 408 U.S. 1 (1972)].
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 1   remedy for some universe of all documents created “as a result of” the inventory (PB
 2   12:15-18 at n.2), but their FAC only requests an injunction as to “records created
 3   through the inventory documents,” meaning the inventory documents alone. ECF 33,
 4   (FAC ¶ I at 51:1-3). Moreover, plaintiffs’ only case, CDT, does not support the remedy.
 5         CDT relied upon Ramsden’s analysis of Rule 41(g) motions, which are civil
 6   equitable proceedings. Id. at 324. To guide courts in exercising their discretion to
 7   prevent courts “from exercising their equitable jurisdiction too liberally” (id. at 324),
 8   courts should consider whether (1) the government displayed a callous disregard for the
 9   movant’s constitutional rights (discussed above); (2) the movant has an individual
10   interest in and need for the property; (3) the movant would be irreparably injured by
11   denying return of property; and (4) the movant has an adequate remedy at law [(id.) at
12   324-325], and plaintiffs must prove the factors. See United States v. Dean, 669 F. App’x
13   891 (9th Cir. 2016); In re Search of 4801 Flyer Ave., 879 F.2d 385, 388 (8th Cir. 1989).
14         As to (2), even though some class members have heightened privacy interests in
15   box contents, others do not as non-private items routinely displayed in public (like
16   jewelry) raise no privacy interests. As to (3), if “[t]he mere threat of criminal
17   prosecution is not sufficient to constitute irreparable harm” [Ramsden, 2 F.3d at 326],
18   then fear of a data breach (which everyone faces) or conclusory emotional distress
19   allegations do not show irreparable injury; anyone could claim these injuries. In re
20   Search of 4801 Flyer Ave., 879 F.2d at 389; Exs. Z and AA; BB and CC (identical injury
21   claimed). As to (4), an adequate legal remedy exists because persons can sue for
22   damages. Finally, unlike ballplayers whose positive steroid test results were unknown,
23   having the public know about a player’s steroid use could seriously harm a ballplayer’s
24   career and leaks had already occurred about three players’ positive steroid test results
25   (which proved “equitable considerations” justifying sequestration in CDT at 1174), and
26   plaintiffs offer nothing comparable about the heightened sensitivity, or any leaks, of the
27   inventory documents. Ex. M at 364:8-19; 365:13-366:2; Ex. P at 380:18-381:14; Ex. R
28   at 392:2-13.

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 1   Dated: August 9, 2022                   Respectfully submitted,
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 9                                           TRACY L. WILKISON and KRISTI
                                             KOONS JOHNSON IN THEIR OFFICIAL
10                                           CAPACITY ONLY
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